REV 7/11 UNITED STATES DISTRICT CGLJRT
MIDDLE DISTRICT OF TENNESSEE

 

 

 

 

 

) Case No.:|z:l 1-¢r-00020-02

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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UNITED STATES OF AMERICA ) Judge: lSenior Judge William J. Haynes, Jr
V.
) Hearing Date:IMarch 8, 2016
) Location: (7 Nashviue (`; columbia (`; cookeviue
AUSTIN MICHAEL EVANS )
) Court Reporter: Roxann Harkins
)
(|ist each defendant appearing at hearing) ) Court Interpreter:
CRIMINAL MINUTES
Government Attorney(s): Clay Lee in for Philip Wehby
Defense Attorney(s): Peter J. Strianse
TRIAL PROCEEDINGS NON-TRIAL PROCEEDINGS
1. Jury Trial* [] 7 . Initial Appearance/Arraignment
2. Non-Jury Trial* |] 8. Plea Hearing
3. Sentencing Hearing Contested* \:] 9. Sentencing Hearing
4. Supervised Release Hearing-Contested* [:| 10. Status conference
5. Probation Revocation Hearing-Contested* [:} 11. Pretrial Conference
6. Other Evidentiary Hearing* [:} 12. Supervised Release Revocation Hearing

(Describe #6 in comments section belo\v)
*Far items 1~6, a Wimess/Exhibit List is required
and must be separately jiled.

JURORS (comp|ete on day 1 on|y):

 

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6.
Alt 1.

 

 

 

 

CO|V\MENTS:

13. Probation Revocation Hearing
14. Motion Hearing
15 . Other Proceeding

(Describe #15 in comments section belo\v)

 

 

 

 

10.

 

11.

 

12.

 

 

Alt 2.

 

 

 

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Parties are to attempt an agreement and submit an agreed order, and if they can't agree, submit a motion for another hearing.

 

 

 

 

 

Total Time in Court: 3 minutes

 

KE|TH THROCKMORTON, C|erk

by3 Megan Gregory '

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